                        Case 3:19-cr-00042-PDW Document 4 Filed 03/07/19 Page 1 of 1

/RFDO$2 5HY 2UGHU6FKHGXOLQJD+HDULQJ



                                       81,7('67$7(6',675,&7&2857
                                                                 IRUWKH
                                                         'LVWULFWRI1RUWK'DNRWD

                   8QLWHG6WDWHVRI$PHULFD
                              Y                                           &DVH1R 3:19-mj-80
                                Sijie Liu



                                                         ORDER SCHEDULING
                                                         DETENTION HEARING

          $KHDULQJLQWKLVFDVHLVVFKHGXOHGDVIROORZV

Type: 'HWHQWLRQ+HDULQJ                                              Date and Time: Monday, March 11, 2019
                                                                                          at 2:00pm
Place: 86)HGHUDO&RXUWKRXVH                                       Courtroom No.:
                                                                               Grand Forks to Fargo Courtroom 2

        IT IS ORDERED:3HQGLQJWKHKHDULQJWKHGHIHQGDQWLVWREHGHWDLQHGLQWKHFXVWRG\RIWKH8QLWHG6WDWHV
PDUVKDORUDQ\RWKHUDXWKRUL]HGRIILFHU7KHFXVWRGLDQPXVWEULQJWKHGHIHQGDQWWRWKHKHDULQJDWWKHWLPHGDWHDQG
SODFHVHWIRUWKDERYH


NOTE: Judge Senechal, Attorney Hankey, defendant, and USPO will be in Grand Forks. USA will be appearing via
video from Fargo.




                 03/07/2019                                                         /s/ Alice R. Senechal
'DWH
                                                                                              Judge’s signature


                                                                                Alice R. Senechal, Magistrate Judge
                                                                                            Printed name and title
